Case 0:10-cv-61799-JEM Document 6 Entered on FLSD Docket 01/07/2011 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISON



 ROBERT LICARI,

 Plaintiff,
                                                           Case No.:10-61799-Civ-Martinez/Brown
 vs.
 ENHANCED RECOVERY COMPANY, LLC,

 Defendant.
 ___________________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: January 7, 2011                        Respectfully submitted,


                                               /s Andrew I. Glenn
                                               Andrew I. Glenn
                                               E-mail: AGlenn@cardandglenn.com
                                               Florida Bar No.: 577261
                                               J. Dennis Card, Jr.
                                               E-mail:DCard@cardandglenn.com
                                               Florida Bar No. 0487473
                                               Card & Glenn, P.A.
                                               2501 Hollywood Boulevard, Suite 100
                                               Hollywood, Florida 33020
                                               Telephone: (954) 921-9994
                                               Facsimile: (954) 921-9553
                                               Attorneys for Plaintiff
